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 7

 8                                                    UNITED STATES DISTRICT COURT
                                                           DISTRICT OF NEVADA
 9
     JANE DOE,                                        )    Case No. 2:19-cv-01664-JCM-VCF
10                                                    )
                                  Plaintiff,          )
11                                                    )    JOINT STIPULATION AND ORDER
     vs.                                              )    TO STAY PROCEEDINGS PENDING
12                                                    )    RESOLUTION
     NEVADAPURE, LLC, a Nevada limited liability )
13   company dba SHANGO LAS VEGAS,                    )    (Fourth Request)
                                                      )
14                                Defendant.          )
     __________________________________ ____ )
15         Plaintiff Jane Doe (“Plaintiff”), by and through her counsel, Melanie Hill Law PLLC, and

16   Defendant NevadaPure, LLC dba Shango Las Vegas (“Defendant”), by and through its counsel,

17   Kamer Zucker Abbott, stipulate and request that the Court stay these proceedings for twenty-one (21)

18   days, through and including September 30, 2020, to allow the parties to memorialize the terms of an

19   agreed upon settlement. In support of this Stipulation and Request, the parties state as follows:

20                1.            The parties requested a stay of proceedings for 30 days on August 7, 2020 in an effort

21   to conserve both the parties’ and the court’s limited time and resources due to the partial shutdown.

22   ECF No. 32.

23                2.            This request for stay was granted on August 14, 2020 and expired on September 2,

24   2020. ECF No. 35.



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 1                3.            The parties have been engaging in resolution discussions and believe they have agreed

 2   in principle on a resolution.

 3                4.            The parties request a stay of proceedings for twenty-one days, up to and including

 4   September 30, 2020, to allow them time to memorialize and finalize the resolution of this matter.

 5                5.            This request to stay proceedings is not sought for any improper purpose or other

 6   reason of delay. Rather, it is sought only to conserve the parties’ and court’s respective resources and

 7   efficiently resolve this matter.

 8                WHEREFORE, the parties respectfully request that the Court stay proceedings in this case

 9   for the next twenty-one (21) days, up to and including September 30, 2020.

                  DATED this 9th day of September, 2020.
10
      Respectfully submitted,                                                          Respectfully submitted,
11
      MELANIE HILL LAW PLLC                                                            KAMER ZUCKER ABBOTT
12
      /s/ Melanie A. Hill                                                              /s/ Nicole A. Martin
13    Melanie A. Hill        #8796                                                     Jen J. Sarafina      #9679
              th
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                                                                                       Fax: (702) 259-8646
16
      Attorney for Plaintiff                                                           Attorneys for Defendant
17    Jane Doe                                                                         NevadaPure, LLC
18

19

20

21                                                                                    IT IS SO ORDERED:

22

23                                                                                    UNITED STATES DISTRICT COURT JUDGE
24                                                                                            September 18, 2020
                                                                                      DATED: ____________________________



     KAMER ZUCKER ABBOTT                          Attorneys at Law
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